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      UNITED STATES COURT OF INTERNATIONAL TRADE
     BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

                                 )
THE UNITED STATES,               )
                                 )
      Plaintiff,                 )
                                 )
                                 )
   v.                            )               Court No. 21-00361
                                 )
CROWN CORK & SEAL, USA, INC.,    )
and CROWN CORK & SEAL CO., INC., )
                                 )
      Defendants.                )
                                 )

                    MOTION FOR ORAL ARGUMENT

     On behalf of Defendants Crown Cork & Seal, USA, Inc. (“Crown

USA”) and Crown Cork & Seal Co., Inc. (“CCK”) (collectively,

“Defendants” or the “Crown Companies”), and pursuant to the U.S.

Court of International Trade’s (“CIT”) Rule 7(c), we respectfully move

this Court for an order setting a date and time for oral argument on

Defendants’ Motion to Dismiss Counts I and II of Plaintiff’s Amended

Complaint (the “Motion to Dismiss”). This Motion for Oral Argument

(the “Motion”) is timely filed concurrent with Defendants’ Reply to

Plaintiff the United States’ (“Plaintiff” or the “Government”) Opposition

to the Motion to Dismiss pursuant to CIT Rule 7(c).

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     Upon reviewing the briefing in connection with the Motion to

Dismiss, the Crown Companies believe that oral argument will assist

the Court in reaching a decision on the Motion to Dismiss. Oral

argument would allow the Court to question the parties in more detail

about the sufficiency of the fraud and gross negligence claims, and any

other issues of particular significance to the Court in ruling on the

Motion to Dismiss Counts I and II of the Amended Complaint.

     If the Court grants this Motion, the Crown Companies intend to

consult with the Court and the Government to determine a hearing date

that is convenient for the Court and the parties.

     WHEREFORE, the Crown Companies respectfully move this

Court to grant their Motion for Oral Argument.

     A proposed Order accompanies this Motion.



                      [Signature on following page]




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                          Respectfully Submitted,

                          /s/ Leah N. Scarpelli
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                          Counsel for Defendants Crown Cork &
                          Seal, USA, Inc. and Crown Cork &
                          Seal Co., Inc.




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      UNITED STATES COURT OF INTERNATIONAL TRADE
     BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

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THE UNITED STATES,               )
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      Plaintiff,                 )
                                 )
                                 )
   v.                            )               Court No. 21-00361
                                 )
CROWN CORK & SEAL, USA, INC.,    )
and CROWN CORK & SEAL CO., INC., )
                                 )
      Defendants.                )
                                 )

                                ORDER

     Upon consideration of Defendants’ Motion for Oral Argument, it is

hereby

     ORDERED that the Motion for Oral Argument is granted; and it

is further

     ORDERED that the oral argument will be set for a date and time

convenient to the Court and the parties.

     SO ORDERED.

Dated: August ___, 2022          ________________________________
New York, New York               The Hon. M. Miller Baker, Judge




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